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               EXHIBIT 2
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                                              Netgear Access point (including but not limited to WAC505, WAC510, WAC720,
           US9338171B2
                                                                           WAC730) (the accused products)
Claim 1
1Pre. A method comprising                The accused products practice a method comprising facilitating a processing of and/or processing
facilitating a processing of and/or      (1) data and/or (2) information and/or (3) at least one signal, the (1) data and/or (2) information
processing (1) data and/or (2)           and/or (3) at least one signal based, at least in part, on the following.
information and/or (3) at least one
signal, the (1) data and/or (2)          Netgear provides multiple devices supporting the Facebook WiFi feature which helps in getting
information and/or (3) at least one      more attention to a user’s business. See FIG. 1.
signal based, at least in part, on the
following:                                                   Citation 1: Netgear devices supporting Facebook WiFi




                                                                                         FIG. 1




                                                                       1
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                   Source: https://www.netgear.com/landing/facebookwifi/, Page 2-3, Last accessed on June 21,
                                                          2021, Exhibit B


                 As an example, Netgear’s Insight Managed Wireless Access Point WAC510 delivers high-
                 performance WiFi in high client density environments for enterprises requiring ubiquitous and
                 reliable wireless connectivity for all business applications. The WAC510 is managed by the
                 Netgear Insight app, for more intuitive and innovative support, with no need for extra management
                 hardware. The WAC510 features Multi-User MIMO (MU-MIMO) to achieve aggregate speeds
                 up to 1.2 Gbps. See FIG. 2 and FIG. 3.




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                                        Citation 2: Netgear WAC510 Access point buy




                                                             FIG. 2
                  Source: https://www.netgear.com/business/wifi/access-points/wac510/, Page 1, Last accessed on
                                                    June 22, 2021, Exhibit A




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                                Citation 3: Netgear WAC505 and WAC510 Access points




                                                           FIG. 3
                  Source: https://www.netgear.com/media/WAC505_WAC510_tcm148-60714.pdf, Page 1, Last
                                             accessed on June 22, 2021, Exhibit F




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                 The accused products support configuring the Facebook WiFi which allows the customers of a
                 business to leverage their Facebook credentials to interact with a business’ Facebook page to get
                 access to free WiFi on the business’ premises. A user owning a business, set up Facebook WiFi
                 using the accused products, can get the demographics of the customers availing the Facebook WiFi
                 services. The accused products process the information provided by the user in order to configure
                 Facebook WiFi functionality. Further, the accused products process the information provided by
                 customers for accessing the Business WiFi (e.g., via the Facebook WiFi functionality). See FIG.
                 4 - FIG. 6.




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                                          Citation 4: Configure Facebook WiFi




                                                         FIG. 4
                      Source: https://kb.netgear.com/24279/How-To-Configure-Facebook-Wi-Fi-On-Your-
                            NETGEAR-Router, Page 2, Last accessed on June 22, 2021, Exhibit C



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                                            Citation 5: Insights about customers




                                                           FIG. 5
                   Source: https://www.netgear.com/landing/Facebookwifi/, Page 1, Last accessed on June 22,
                                                       2021, Exhibit B




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                                                   Citation 6: Facebook Credentials for Checking In to WiFi Network




                                                                                     FIG. 6
                                         Source: https://www.netgear.com/landing/facebookwifi/, Page 1, Last accessed on June 21,
                                                                                2021, Exhibit B


1a. one or more resources             The method practiced by the accused products comprise one or more resources associated with at
associated with at least one user, at least one user, at least one device associated with the at least one user, or a combination thereof;
least one device associated with
the at least one user, or a           The accused products (e.g., WAC510 Access point) (i.e., resources) associated with a user owning
combination thereof;                  a business, enables their customers to gain access to the internet via various methods (e.g.,
                                      including Facebook WiFi feature). See FIG. 7 and FIG. 8.




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                                                Citation 7: Facebook WiFi feature




                                                             FIG. 7
                    Source: https://www.netgear.com/landing/facebookwifi/, Page 1, Last accessed on June 21,
                                                         2021, Exhibit B


                                   Citation 8: Netgear devices supporting Facebook WiFi




                                                             FIG. 8



                                            9
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                                       Source: https://www.netgear.com/landing/facebookwifi/, Page 2-3, Last accessed on June 21,
                                                                              2021, Exhibit B


1b. a processing of social           The method practiced by the accused products comprise a processing of social networking
networking information associated    information associated with the at least one user, the at least one device, or a combination thereof
with the at least one user, the at   to determine one or more social networking groups; and
least one device, or a combination
thereof to determine one or more     The accused products support configuring the Facebook WiFi feature which allows the customers
social networking groups; and        of a business to leverage their Facebook credentials to interact with a business’s Facebook page
                                     to get access to free WiFi on the business’s premises. See FIG. 9.




                                                                 10
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                                           Citation 9: Netgear Router and Facebook




                                                              FIG. 9
                    Source: https://www.netgear.com/landing/Facebookwifi/, Page 1, Last accessed on June 22,
                                                          2021, Exhibit B


                  The accused products provide a configuration page to configure the Facebook WiFi feature. As
                  an example, a user who owns a cafe can enable Facebook WiFi and configure it such that the
                  customers visiting the cafe can access the internet by checking in on the Facebook page of the
                  cafe.
                  For enabling and configuring the Facebook WiFi on the accused products, the user (owner of the
                  cafe) would initially provide his/her Facebook account credentials as shown in FIG. 10. Further,
                  the credentials (e.g., social networking information) are processed to determine the available



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                  Facebook pages (e.g., to determine one or more social networking groups) associated with the
                  Facebook account and are presented for selection as a drop-down menu as shown in FIG. 11. The
                  user selects a specific Facebook page via which the Facebook WiFi access needs to be provided
                  to the customers of the business (e.g., Facebook page – Jake Cafe in this scenario). The
                  configuration including few more settings is saved. See FIG. 10 and FIG. 11.




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                                         Citation 10: Configure Facebook WiFi




                                                         FIG. 10
                      Source: https://kb.netgear.com/24279/How-To-Configure-Facebook-Wi-Fi-On-Your-
                            NETGEAR-Router, Page 2, Last accessed on June 22, 2021, Exhibit C



                                         13
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                          Citation 11: Displaying the Facebook pages associated with the account




                                                         FIG. 11
                      Source: https://kb.netgear.com/24279/How-To-Configure-Facebook-Wi-Fi-On-Your-
                           NETGEAR-Router, Page 2-3, Last accessed on June 22, 2021, Exhibit C



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                  Once the configuration of Facebook WiFi is completed, a customer can be given access to the
                  WiFi. Whenever a customer connects to the network with Facebook WiFi-enabled, the customer
                  will be redirected to the merchant’s/user’s Facebook page (social networking page/group).
                  Customers can check-in to the merchant’s/user’s Facebook page with their respective Facebook
                  credentials, and start browsing the internet. As shown in FIG. 12 and FIG. 13.


                                              Citation 12: Facebook Check-In Page




                                                              FIG. 12




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                                          Source: https://kb.netgear.com/24279/How-To-Configure-Facebook-Wi-Fi-On-Your-
                                                  NETGEAR-Router, Page 3, Last accessed on June 22, 2021, Exhibit C


                                                                Citation 13: Facebook Check-In Page




                                                                                 FIG. 13
                                          Source: https://kb.netgear.com/24279/How-To-Configure-Facebook-Wi-Fi-On-Your-
                                                  NETGEAR-Router, Page 3, Last accessed on June 22, 2021, Exhibit C




1c. a controlling of access to the   The method practiced by the accused products comprise a controlling of access to the one or more
one or more resources for one or     resources for one or more other users, one or more other devices associated with the one or more


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more other users, one or more         other users, or a combination thereof based, at least in part, on (a) membership in the one or more
other devices associated with the     social networking groups, and (b) one or more characteristics associated with the one or more
one or more other users, or a         resources,
combination thereof based, at least
in part, on (a) membership in the     Refer to supporting evidence for claim limitation 1b.
one or more social networking
groups, and (b) one or more           The accused products provide a feature for a user to enable Facebook WiFi and configure it such
characteristics associated with the   that the customers (e.g., customers for a business of the user) can access the internet by checking
one or more resources,                in on the Facebook page set by the user. Once the configuration of Facebook WiFi is completed,
                                      a user (e.g., owner of a business) can be given access to the WiFi/Internet via the accused products
                                      (e.g., access to resource). Whenever a customer connects to the network with the Facebook WiFi
                                      feature enabled, the customer will be redirected to the merchant’s/user’s Facebook check-in page
                                      (social networking page/group). As an example, customers then check in using the option
                                      provided on the merchant’s/user’s Facebook page with their respective Facebook credentials (e.g.,
                                      the customers would like and follow the business page/becomes a member of the business page),
                                      and start browsing the internet. See FIG. 14.


                                      Further, the claim limitation “(b) one or more characteristics associated with the one or more
                                      resources,” is explained in the supporting evidence for claim limitation 1d.




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                                                                        Citation 14: Check-In Page




                                                                                   FIG. 14
                                           Source: https://kb.netgear.com/24279/How-To-Configure-Facebook-Wi-Fi-On-Your-
                                                   NETGEAR-Router, Page 3, Last accessed on June 22, 2021, Exhibit C




1d. wherein the one or more           The method practiced by the accused products comprise wherein the one or more resources include
resources include one or more         one or more wireless access points, and the one or more characteristics include a number of users
wireless access points, and the one   accessing the one or more wireless access points, a traffic load associated with the one or more
or more characteristics include a     wireless access points, or a combination thereof.



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number of users accessing the one
or more wireless access points, a      The accused products (e.g., Insight Managed Smart Cloud Wireless Access Point WAC510) (i.e.,
traffic load associated with the one   resources) can be configured as Access Points/Access Point modes. See FIG. 15.
or more wireless access points, or
a combination thereof.                                 Citation 15: Netgear WAC505 and WAC510 Access points




                                                                                 FIG. 15
                                        Source: https://www.netgear.com/media/WAC505_WAC510_tcm148-60714.pdf, Page 1, Last
                                                                   accessed on June 22, 2021, Exhibit F


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                  The accused products provide a capability to customize the number of users that are allowed to
                  associate with the WIFi connection. The characteristics include the number of users accessing the
                  wireless access points, a traffic load associated with wireless access points. See FIG. 16.


                                                   Citation 16: Number of Users




                                                               FIG. 16
                  Source:https://www.downloads.netgear.com/files/GDC/WAC510/WAC510_UM_EN.pdf?_ga=2
                  .121491336.10606088.1624254047-942891002.1624254047, Page 97, Last accessed on June 22,
                                                           2021, Exhibit D


                  Netgear’s accused product also provides the capability to customize the broadcast rate and
                  configure the radio threshold utilization to maintain the efficiency of the network. See FIG. 17.




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                                                                       Citation 17: Manage Load Balance




                                                                                      FIG. 17
                                        Source:https://www.downloads.netgear.com/files/GDC/WAC510/WAC510_UM_EN.pdf?_ga=2
                                         .121491336.10606088.1624254047-942891002.1624254047, Page 101, Last accessed on June
                                                                                22, 2021, Exhibit D


Claim 7
7Pre. A method of claim 1,              The method practiced by the accused products further comprises wherein the (1) data and/or (2)
wherein the (1) data and/or (2)         information and/or (3) at least one signal are further based, at least in part, on the following: a
information and/or (3) at least one     monitoring of a number of access times at least one other user, at least one other device, or a
signal are further based, at least in   combination thereof accesses the one or more resources; and an elimination of access rights to the
part, on the following:                 one or more resources for the at least one other user, the at least one other device, or a combination
                                        thereof based, at least in part, on the number of access times.




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7a. a monitoring of a number of         The accused products monitor the number of times a customer has tried to access the WAP and
access times at least one other         blocks the access for a pre-determined time depending on the number of times the customer has
user, at least one other device, or a   tried to access the WAP. For example, if the number of access attempts is more than three, the
combination thereof accesses the        access is blocked for 5 minutes, and the time of blocking the access increases as the number of
one or more resources; and              attempts increase. See FIG. 18.


7b. an elimination of access rights
to the one or more resources for
the at least one other user, the at
least one other device, or a
combination thereof based, at least
in part, on the number of access
times.




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                                    Citation 18: Blocking based on number of attempts




                                                         FIG. 18
                  Source:https://www.downloads.netgear.com/files/GDC/WAC510/WAC510_UM_EN.pdf?_ga=2
                   .121491336.10606088.1624254047-942891002.1624254047, Page 232, Last accessed on June
                                                    22, 2021, Exhibit D


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Claim 8
8. A method of claim 1, wherein     The method practiced by the accused products further comprises wherein the one or more social
the one or more social networking   networking groups include at least one of a family group, a friends group, a friends of friends
groups include at least one of a    group, and an others group.
family group, a friends group, a
friends of friends group, and an    The accused products provide a feature to enable Facebook WiFi and configure it for internet
others group.                       access to the customers via respective business Facebook Page/Group. See FIG. 19 and FIG. 20.




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                                        Citation 19: Configure Facebook WiFi




                                                      FIG. 19




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                      Source: https://kb.netgear.com/24279/How-To-Configure-Facebook-Wi-Fi-On-Your-
                            NETGEAR-Router, Page 2, Last accessed on June 22, 2021, Exhibit C




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                                           Citation 20: Check-In functionality




                                                         FIG. 20
                      Source: https://kb.netgear.com/24279/How-To-Configure-Facebook-Wi-Fi-On-Your-
                           NETGEAR-Router, Page 2-3, Last accessed on June 22, 2021, Exhibit C




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                  As    an    example,     Facebook      groups    are    a      place   where   people     (e.g.,
                  fans/customers/readers/friends/family) can discuss and learn more about the business. See FIG.
                  21 and FIG. 22.


                                                  Citation 21: Facebook Group




                                                              FIG. 21
                  Source: https://blog.hootsuite.com/facebook-groups-business/#benefits, Page 2, Last accessed on
                                                      June 22, 2021, Exhibit E




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                                                                  Citation 22: People in Facebook Group




                                                                                   FIG. 22
                                       Source: https://blog.hootsuite.com/facebook-groups-business/#benefits, Page 2-3, Last accessed
                                                                         on June 22, 2021, Exhibit E


Claim 9
9. A method of claim 1, wherein        The method practiced by the accused products further comprises wherein the controlling of access
the controlling of access to the one   to the one or more resources is independent from controlling of configuration settings associated
or more resources is independent       with the one or more resources.
from controlling of configuration
                                       Refer to supporting evidence for claim limitations 1b and 1c.



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settings associated with the one or
more resources.                       Whenever a customer connects to the network with Facebook WiFi enabled, the customer will be
                                      redirected to the merchant’s/user’s Facebook check-in page (social networking page/group). As
                                      an example, customers then check in using the option provided on the merchant’s/user’s Facebook
                                      page with their respective Facebook credentials (e.g., the customers would like and follow the
                                      business page/becomes a member of the business page), and start browsing the internet. The
                                      customers are only provided access to browse the internet via the accused products but cannot
                                      control any configuration settings associated with the accused products (i.e., resources). See FIG.
                                      23.




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                                                                Citation 23: Facebook Check-In Page




                                                                                 FIG. 23
                                         Source: https://kb.netgear.com/24279/How-To-Configure-Facebook-Wi-Fi-On-Your-
                                                NETGEAR-Router, Page 3, Last accessed on June 22, 2021, Exhibit C


Claim 10
10Pre. An apparatus comprising:    The accused products comprise at least one processor; and at least one memory including computer
                                   program code for one or more programs, the at least one memory and the computer program code
10a. at least one processor; and   configured to, with the at least one processor, cause the apparatus to perform at least the following,




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10b. at least one memory               It can be inferred from FIG. 24, that the explicit operation of managing the firmware by loading
including computer program code        the firmware from the server and upgrading the firmware of the access point suggests that the
for one or more programs,              access point (accused products) consists of a processor and memory to perform the operations.


10c. the at least one memory and                                  Citation 24: Firmware of the access point
the computer program code
configured to, with the at least one
processor, cause the apparatus to
perform at least the following,




                                                                                    FIG. 24
                                       Source:https://www.downloads.netgear.com/files/GDC/WAC510/WAC510_UM_EN.pdf?_ga=2
                                        .121491336.10606088.1624254047-942891002.1624254047, Page 232, Last accessed on June
                                                                              22, 2021, Exhibit D


10d. determine one or more             The accused products determine one or more resources associated with at least one user, at least
resources associated with at least     one device associated with the at least one user, or a combination thereof.
one user, at least one device
                                       Refer to supporting evidence for claim limitation 1a.



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associated with the at least one
user, or a combination thereof;


10e. process and/or facilitate a      The accused products process and/or facilitates a processing of social networking information
processing of social networking       associated with the at least one user, the at least one device, or a combination thereof to determine
information associated with the at    one or more social networking groups.
least one user, the at least one
device, or a combination thereof to Refer to supporting evidence for claim limitation 1b.
determine one or more social
networking groups; and


10f. cause, at least in part, a       The accused products cause, at least in part, a controlling of access to the one or more resources
controlling of access to the one or   for one or more other users, one or more other devices associated with the one or more other users,
more resources for one or more        or a combination thereof based, at least in part, on (a) membership in the one or more social
other users, one or more other        networking groups, and (b) one or more characteristics associated with the one or more resources.
devices associated with the one or
more other users, or a combination    Refer to supporting evidence for claim limitation 1c.
thereof based, at least in part, on
(a) membership in the one or more
social networking groups, and (b)
one or more characteristics




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associated with the one or more
resources,


10g. wherein the one or more           The accused products wherein the one or more resources include one or more wireless access
resources include one or more          points, and the one or more characteristics include a number of users accessing the one or more
wireless access points, and the one    wireless access points, a traffic load associated with the one or more wireless access points, or a
or more characteristics include a      combination thereof.
number of users accessing the one
or more wireless access points, a      Refer to supporting evidence for claim limitation 1d.
traffic load associated with the one
or more wireless access points, or
a combination thereof.


Claim 16
16Pre. An apparatus of claim 10,       The accused products further comprises wherein the apparatus is further caused to: cause, at least
wherein the apparatus is further       in part, a monitoring of a number of access times at least one other user, at least one other device,
caused to:                             or a combination thereof accesses the one or more resources; and cause, at least in part, an
                                       elimination of access rights to the one or more resources for the at least one other user, the at least
16a. cause, at least in part, a        one other device, or a combination thereof based, at least in part, on the number of access times.
monitoring of a number of access
times at least one other user, at      Refer to supporting evidence for claim 7.
least one other device, or a



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combination thereof accesses the
one or more resources; and


16b. cause, at least in part, an
elimination of access rights to the
one or more resources for the at
least one other user, the at least
one other device, or a combination
thereof based, at least in part, on
the number of access times.


Claim 17
17. An apparatus of claim 10,         The accused products further comprises wherein the one or more social networking groups include
wherein the one or more social        at least one of a family group, a friends group, a friends of friends group, and an others group.
networking groups include at least
one of a family group, a friends      Refer to supporting evidence for claim 8.
group, a friends of friends group,
and an others group.




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                                                              References Cited

Exhibit(s)   Description                               Link

Exhibit A    Netgear WAC510 AP                         https://www.netgear.com/business/wifi/access-points/wac510/

Exhibit B    Facebook WiFi                             https://www.netgear.com/landing/facebookwifi/
Exhibit C    Configuration of Facebook WiFi            https://kb.netgear.com/24279/How-To-Configure-Facebook-Wi-Fi-On-Your-NETGEAR-
                                                       Router
Exhibit D    User Manual WAC510                        https://www.downloads.netgear.com/files/GDC/WAC510/WAC510_UM_EN.pdf?_ga=2.1
                                                       21491336.10606088.1624254047-942891002.1624254047
Exhibit E    Blog: How to Use Facebook Groups to https://blog.hootsuite.com/facebook-groups-business/#benefits
             Grow   Your     Business   and   Engage
             Customers
Exhibit F    Datasheet WAC505 & WAC510                 https://www.netgear.com/media/WAC505_WAC510_tcm148-60714.pdf




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